The Honorable Mark Martin Secretary of State State Capitol, Room 256 Little Rock, Arkansas 72201-1094
Dear Mr. Martin:
This is in response to your request for an opinion on the effective date of legislation passed during the Eighty-Eighth Arkansas General Assembly. Your request pertains to legislation that did not carry an emergency clause or a specified effective date.
Acts of the General Assembly with no emergency clause or specified effective date become effective ninety days after adjournment of the session at which they were enacted. Fulkerson v. RefundingBoard, 201 Ark. 957, 147 S.W.2d 980 (1941). This rule stems from Amendment 7 to the Constitution of Arkansas, which gives the people "ninety days after the final adjournment of the session" to file referendum petitions. The day of adjournment is not counted, as it is not a full day during which petitions may be filed.
Your request indicates that the General Assembly adjournedsine die on April 27, 2011. Starting with the first full day after adjournment, and counting ninety full days, acts with no emergency clause or specified effective date become effective on the ninety-first day, which in this case is July 27, 2011. *Page 2 
Deputy Attorney General Elisabeth A. Walker prepared the foregoing opinion, which I hereby approve.
Sincerely,
DUSTIN McDANIEL Attorney General
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